          Case
           Case2:10-cr-00620-APG-GWF
                 2:10-cr-00620-PMP-GWF Document
                                       Document76  Filed08/08/14
                                                75 Filed 08/08/14 Page
                                                                   Page11
                                                                        ofof
                                                                           22
Prob12B
D/NV Form
Rev. July 2013

                                     United States District Court
                                                   for
                                         the District of Nevada

                                 REQUEST FOR MODIFICATION
                 TO CONDITIONS OF SUPERVISION WITH CONSENT OF OFFENDER
                          Probation Form 49 (Waiver of Hearing) is Attached
                                          August 6, 2014

Name of Offender:        MIGUEL ANGEL CRUZ

Case Number:         2:10-cr-620-PMP-GWF

Name of Sentencing Judicial Officer:     Honorable Philip M. Pro

Date of Original Sentence:    January 23, 2012

Original Offense:     Conspiracy to Distribute a Controlled Substance - Methamphetamine

Original Sentence: 30 Months Custody. Two Years Supervised Release

Date Supervision Commenced:       May 9, 2014

                                     PETITIONING THE COURT

     To extend the term of supervision      Months, for a total term of        Months.

 T To modify the conditions of supervision as follows:


1.       You shall participate in and successfully complete a substance abuse treatment and/or
         cognitive based life skills program, which will include drug/alcohol testing and/or outpatient
         counseling, as approved and directed by the probation office. You shall refrain from the use
         and possession of beer, wine, liquor, and other forms of intoxicants while participating in
         substance abuse treatment. Further, you shall be required to contribute to the costs of services
         for such treatment, as approved and directed by the probation office based upon your ability
         to pay.

2.       You shall be confined to home confinement with location monitoring, if available, for a period
         of 60 months. You shall pay 100% of the costs of the location monitoring services.

                                                 CAUSE

On July 22, 2014, Mr. Miguel Cruz submitted a positive drug test for the presence of cocaine and
methamphetamine. Initially, Mr. Cruz denied any use of a controlled substance. The urine sample was sent
          Case
           Case2:10-cr-00620-APG-GWF
                 2:10-cr-00620-PMP-GWF Document
                                       Document76  Filed08/08/14
                                                75 Filed 08/08/14 Page
                                                                   Page22
                                                                        ofof
                                                                           22
Prob12B
D/NV Form
Rev. July 2013                       RE: MIGUEL ANGEL CRUZ

to the national laboratory for confirmation. They confirmed the positive urine screen for methamphetamine
and benzoylecgonine (metabolite of cocaine). Upon this confirmation, a noncompliance office visit was
scheduled with Mr. Cruz on August 5, 2014. He was informed of the positive results from the lab. Mr. Cruz
then admitted to using the controlled substance. He stated he became intoxicated with some friends and used
poor judgment. Mr. Cruz’s friendships were discussed and he reported that he is not going to associate with
friends that are engaged in illegal activity. Mr. Cruz was reminded that he is to refrain from any use of
alcohol while attending treatment, as he is currently enrolled in mental health counseling. Mr. Cruz
apologized for his conduct and reported this will not happen again.

Due to this conduct, Mr. Cruz signed a waiver of a hearing in agreement to modify the conditions of his
supervision to include substance abuse treatment and home confinement with location monitoring for 60
days (please see attached).

Should Your Honor have any questions or concerns, the undersigned officer will be available at the Court’s
convenience.



                                                 Respectfully submitted,




APPROVED:




THE COURT ORDERS:

          No action

         The extension of supervision as noted above

XX        The modification of conditions as noted above

          Other

                                                          _____________________________
                                                          Signature of Judicial Officer
                                                           8/8/14
                                                          _____________________________
                                                          Date
